Case 1:21-cr-00386-TNM Document 50 Filed 08/26/21 Page 1 of 4

07/13/2021 Created By:Pauline-:Bauer, a live woman
Created For PAULINE BAUER - VESSEL

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

COLOR OF LAW AGENCY So Named:
DISTRICT OF COLUMBIA CIRCUIT

Leave to file G

   
         

D-U-N-S® number: XXXXXX277 United States District Judge
Doing Business As
Federal Court
UNITED STATES OF AMERICA
d.b.a. USA
A Corporation acting as CASE No. 21-cr-386 (TNM)
Government
Vv.

PAULINE BAUER - VESSEL
‘Pauline - :Bauer - EXECUTOR

Notice: Cease and Desist Carmen Hernandez, Esquire

And Now this, Be it Known by All concerned parties, Known and Unknown, Garmen D. Hemandez, Esquire does not,
has not and will NOT be representing nor re-presenting the VESSEL- PAULINE BAUER addressed by the Court
in this case. Furthermore, Carmen D. Hernandez, Esquire has not, does not and will NOT be representing nor
re-presenting :Pauline-:Bauer, a Living Woman, a State National in any way, any capacity nor any other construct
of legal fiction known or unknown. No Power of Attorney has EVER nor Ever will be granted by me in this matter.

| Claim my Right of Pro Per, "for oneself".

Correct the CM/ECF PACER file by removing Carmen D. Hernandez as PAULINE BAUER ——Represented by
from the record and the website.

U.S. District Court, District of Columbia (Washington, DC)

CRIMINAL DOCKET FOR CASE #: 1:21-cr-00386-TNM-2
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pi?159958740139366-L_1_0-1

All Correspondence intended for the Living Woman :Pauline - :Bauer shall be sent to One-Thousand-seventy-two
Bliss Hill Road. Kane, Pennsylvania near [16735]

 

SSS
eigecpac. RECEIVED... ;
we Mail Room | :

  
    

 

 

 

Angela D. Caesar, Clerk of Court
U.S. District Court, District of Columbia

 

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Case 1:21-cr-00386-TNM Document 50 Filed 08/26/21 Page 2 of 4

Certificate of Service

|, :Pauline-:Bauer hereby certify that | caused a copy of the Notice of Cease and Desist
Carmen D. Hernandez, Esq. (with attachments) to be served upon Assistant United States
Attorney, VIVIEN COCKBURN via email Vivien.cockburn@usdoj.gov and Carmen D.
Hernandez, Esq. via email chernan7@aol.com

 

It is further expected that notice be given via the ECF system once this document is filed on
the CM/ECF PACER system.

See Attachment of two pages.

06/28/2021 42 NOTICE: Correct the Record, Fire the Actors by PAULINE BAUER. "Leave to File GRANTED"
by Judge Trevor N. McFadden on 6/28/2021. (zltp) (Entered: 07/08/2021)

—~

:Pauline-:Bauer, a Living Soul
UCC 1 - 308
The Living Embodiment of God's Creation

 

Red Ink autograph and thumb print (seal)

Notice to Agent(s) is notice to Principal, Notice to Principal is Notice.

KE 226216 /e/ US

Registered Mail #

 

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Case 1:21-cr-00386-TNM Document 32 Filed 06/28/21 Page 1 of 2

COLOR OF LAW AGENCY So Named:
DISTRICT OF COLUMBIA CIRCUIT

D-U-N-S® number for

 

District of Columbia Circuit:
D-U-N-S number: XXXXXX277
Doing Business As
Federal Court
UNITED STATES
d.b.a.
USA
A De facto Private Shareholder owned Bankrupt vat
. , United States
Foreign for profit governmental services Corporation 6 14 Z (

Listed as UNITED STATES on Dunn and Bradstreet
Correction: Our Government is a Republic Properly
styled “The United States for America”

= Case No.

21-cr-386-2
PAULINE BAUER - VESSEL CUSIP

NOW COMES Pauline Bauer
compos mentis
By Special Divine Appearance Pauline Bauer,

One of we the people, Petitioner, Attorney in-Fact
Sui Juris, Jus Soli, a living soul, created by God, a
self-govemed individual, the woman being
involuntarily held as surety, an ambassador of Christ,
taking dominion over Juris[diction] of the Land and
Water.

Land, Air, Water - this is LAW

 

NOTICE: Correct the Record, Fire the Actors.

Be it known by all parties, known or unknown, disclosed or undisclosed,
THE FACT:

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Case 1:21-cr-00386-TNM Document 32 Filed 06/28/21 Page 2 of 2

|, Me, Pauline Bauer the Living Soul, A Creation of God, A Woman, As ONE
People, Demands the removal of any and all Actor(s), Attorney(s), Lawyer(s), and
all other known or unknown entities purported to be re-presenting, representative,
or acting for the benefit of Pauline Bauer, the Living Soul before the Court,

under the Court, as a friend of the Court, or any other capacity, known or
unknown, to cease and desist immediately.

|, Me, Pauline Bauer the Living Soul have surrendered NO rights, All my Rights
are retained by Me. None have been surrendered to any party or entity.

|, Me, Pauline Bauer am appearing before the court as Sui Juris, Jus Soli
Maintain my Right to Self Council and any Co-Council | may Appoint.

I, Me, Pauline Bauer the Living Soul, declare under the LAW of the United States for America that the

foregoing document and statements herein are true and correct to the best of my knowledge
and ability to express.

 

% /. . *
By: /1 ah —
Pauline Bauer a Living Soul
The Living Embodiment of God's Creation

Red Ink autograph and thumb print (seal)

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